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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF COLORADO


In re:                                                     Case No. 18-21148-MER
         RYAN JOSEPH RALEY

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Douglas B. Kiel, Chapter 13 Trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as
follows:

         1) The case was filed on 12/31/2018.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 NA .

       4) The Trustee filed action to remedy default by the debtor in performance under the
plan on NA .

         5) The case was converted on 03/11/2019.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 2.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $78,227.50.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the Trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor                    $0.00
        Less amount refunded to debtor                              $0.00

 NET RECEIPTS:                                                                                       $0.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                $0.00
     Court Costs                                                          $0.00
     Trustee Expenses & Compensation                                      $0.00
     Other                                                                $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $0.00

 Attorney fees paid and disclosed by debtor:                $600.00


 Scheduled Creditors:
 Creditor                                     Claim         Claim         Claim       Principal       Int.
 Name                               Class   Scheduled      Asserted      Allowed        Paid          Paid
 ACE CASH EXPRESS               Unsecured         500.00           NA           NA            0.00        0.00
 AMERICAN HONDA FINANCE         Secured              NA       7,779.66     7,779.66           0.00        0.00
 AQUA FINANCE INC               Secured        9,829.00       9,248.94     9,248.94           0.00        0.00
 ATLAS ACQUISITIONS LLC         Unsecured            NA       1,433.76     1,433.76           0.00        0.00
 CAPITAL ONE BANK (USA) NA      Unsecured         328.00        413.80       413.80           0.00        0.00
 CARFINANCE                     Secured       14,515.00     15,122.97     15,122.97           0.00        0.00
 CARFINANCE                     Secured              NA       1,344.96     1,344.96           0.00        0.00
 CARRIE HUNT                    Priority            0.00           NA           NA            0.00        0.00
 CARRIE HUNT                    Priority             NA            NA           NA            0.00        0.00
 COLLECTION PROFESSIONALS       Unsecured      3,000.00            NA           NA            0.00        0.00
 COLORADO DEPT OF REVENUE       Priority       1,000.00            NA           NA            0.00        0.00
 DISCOVER BANK                  Unsecured         791.00        955.86       955.86           0.00        0.00
 EMC                            Unsecured         684.00           NA           NA            0.00        0.00
 INBOX LOAN                     Unsecured         500.00           NA           NA            0.00        0.00
 IRS - US TREASURY              Priority       3,000.00       6,858.74     6,858.74           0.00        0.00
 LENDUP                         Unsecured         500.00           NA           NA            0.00        0.00
 LVNV FUNDING LLC               Unsecured            NA       2,192.88     2,192.88           0.00        0.00
 MONEY LION                     Unsecured         367.00        365.70       365.70           0.00        0.00
 MONEYTREE                      Unsecured         500.00           NA           NA            0.00        0.00
 MURPHY CREEK METRO DISTRICT    Secured           500.00           NA           NA            0.00        0.00
 OPERATING ENGINEERS            Unsecured         365.00           NA           NA            0.00        0.00
 PINNACLE CREDIT SERVICES LLC   Unsecured            NA         649.22       649.22           0.00        0.00
 PRO COLLECT                    Unsecured         710.00           NA           NA            0.00        0.00
 SPEEDY/RAPID CASH              Unsecured         500.00        603.51       603.51           0.00        0.00
 SPOTLOAN                       Unsecured         500.00           NA           NA            0.00        0.00
 THE MONEY SOURCE INC           Secured       21,000.00     22,345.43     21,000.00           0.00        0.00
 THE MONEY SOURCE INC           Secured      364,045.00    372,516.48    372,516.48           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $372,516.48               $0.00              $0.00
       Mortgage Arrearage                                $21,000.00               $0.00              $0.00
       Debt Secured by Vehicle                           $15,122.97               $0.00              $0.00
       All Other Secured                                 $18,373.56               $0.00              $0.00
 TOTAL SECURED:                                         $427,013.01               $0.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00              $0.00
        Domestic Support Ongoing                               $0.00              $0.00              $0.00
        All Other Priority                                 $6,858.74              $0.00              $0.00
 TOTAL PRIORITY:                                           $6,858.74              $0.00              $0.00

 GENERAL UNSECURED PAYMENTS:                               $6,614.73              $0.00              $0.00


 Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

 TOTAL DISBURSEMENTS :                                                                             $0.00


       12) The Trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the Trustee is responsible have been completed . The Trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 03/14/2019                             By:/s/ Douglas B. Kiel
                                                                Chapter 13 Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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